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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

AT BECKLEY
UNITED STATES OF AMERICA
Vv. Criminal Action No.: 5:23-cr-00134
STEVEN NICHOLAS WIMMER, Defendant.

SENTENCING MEMORANDUM OF DEFENDANT STEVEN NICHOLAS WIMMER

Defendant Steven Nicholas Wimmer, by counsel, submits this memorandum to assist the
Court in fashioning a sentence sufficient but not greater than necessary to satisfy the factors
outlined in 18 U.S.C. 3553. Mr. Wimmer filed no objections to the Presentence Investigation
Report but contends that for the reasons set forth herein, a sentence well beneath the statutory
maximum of 120 months is warranted.

On November 2, 2023, Mr. Wimmer pleaded guilty to a single-count Information
charging him with Conspiracy to Violate Civil Rights, in violation of 18 U.S.C. 241, which
exposed him to a statutory sentence of not more than ten years in prison. While his
recommended Guideline range is from 121-151 months, which exceeds the statutory maximum
sentence, there are numerous factors justifying a downward variance.

Mr. Wimmer’s guilty plea stems from his involvement in a tragic situation in which an
inmate died at the Southern Regional Jail where Mr. Wimmer worked as a correctional officer.
The Probation Officer calculated his Total Offense Level at 32, which included a six-point
increase for commission of an offense under color of law, offset by a three-level reduction for

Acceptance of Responsibility; his Criminal History Category is I.
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A. Nature and Circumstances of the Offense and History
and Characteristics of the Defendant under 18 U.S.C. 3553(a)(1)

After working a variety of jobs and completing a year of college at Concord University,
Mr. Wimmer began working at the SRJ in July 2020 and in 2021, he graduated from the West
Virginia Corrections Academy. In the morning hours of March 1, 2022, he responded to an
officer-needs-assistance call and upon arrival, he assisted five or six other officers who were
already on the scene in subduing an inmate. The initial encounter was captured on video. After
handcuffing him, the group of correctional officers led the inmate down the hallway where he
met with medical personnel out of the camera’s view (PSR 47). Shortly thereafter, the inmate
reappears and is taken by the COs to an “interview room” outside the camera’s view.

Once in the interview room, the inmate was physically assaulted by several of the COs
and then led to the administrative segregation pod (A-1) and was later pronounced dead. The
autopsy listed that the cause of death as homicide.

Mr. Wimmer, age 22 at the time, was among the youngest, least experienced officers
present and the incident report that he submitted to investigators was drafted under the direct
supervision of a senior correctional officer (see PSR 12). Mr. Wimmer has since provided the
Government with a more accurate account and has stated that he felt pressured to stress certain
factors and downplay other factors. He was “bullied” by the older COs following the incident
and feared retaliation against himself and his family if he did not do as ordered (PSR 4913, 15).
Mr. Wimmer has attempted to mitigate his lesser role in this incident by providing truthful and
detailed testimony to investigators and the U.S. Attorney’s Office. Once a plea agreement was
signed he testified before the grand jury as part of his agreement.

Mr. Wimmer, a soft-spoken, married father of one, is a life-long resident of Mercer and

Raleigh counties. He is now age 25, and has abandoned his career in corrections. Otherwise, he
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has a long history of gainful employment. He has zero criminal history points. He has been on
bond since November 2, 2023, and there have been no issues reported.

B. The Need for the Sentence Imposed under 18 U.S.C. 3553(a)(2)

I) The Court must fashion a sentence that reflects the seriousness of the offense, promotes
respect for the law and provides just punishment. 18 U.S.C. 3553(a)(2)(A).

Mr. Wimmer never contested the charge and has felt genuine remorse over his limited
role in the incident. His unconditional acceptance of responsibility was reflected and reinforced
by the truthful testimony he provided to investigators.

His actions reflect an understanding of the seriousness of his conduct and respect for the
law. Given the gravity of the harm his limited involvement has caused and his desire to set the
record straight, a sentence well beneath the statutory maximum is warranted. His zero criminal
history points shows the respect for law that he has had his entire life.

Significantly, given Mr. Wimmer’s prior work as a correctional officer, he potentially
poses a significantly higher risk of prison abuse than most other defendants who appear before
this court, therefore a downward sentencing variance coupled with rigid supervision upon release
would justly punish him more than would a lengthy prison sentence.

2) The Court’s sentence must deter future criminal conduct. 18 U.S.C. 3553(a)(2)(B).

Mr. Wimmer’s lack of any criminal history indicates that he is not only capable of a law-
abiding lifestyle, but that the risk of future violations is remote. Nothing in the record indicates a
predisposition towards violence or other types of criminal conduct. Age 22 when the incident
occurred and under the supervision of older officers, Mr. Wimmer is remorseful over the role he
played and since his arrest and his plea to the Information herein, he has assisted authorities in

getting to the truth. Indeed, his input has been crucial in holding those most culpable to account.
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His poor judgment destroyed a bright career in corrections and brought shame on him in
the eyes of his former coworkers. A sentence well below the statutory maximum sentence of ten
years is warranted. He does not suffer from substance abuse issues so the likelihood of future
criminal conduct is reduced. He accepted full responsibility for his actions and cooperated with
authorities from the outset. As a result, a term of supervised release including any special
conditions this Court deems appropriate will further this objective far more effectively than
would a lengthy prison sentence.

3) His sentence should protect the public from further crimes. 18 U.S.C. 3553(a)(2)(C).

Mr. Wimmer no longer works in the corrections field and given his complete lack of prior
criminal history the risk of recidivism or of any future criminal conduct is low. He currently
works in automotive sales and provides for his wife and young son. His participation in the
instant case stemmed from what he reasonably though unwisely viewed as direct orders from
veteran correctional officers. That does not excuse his involvement since he failed to stop the
abuse but his actions on March 1, 2022, are out of character for the man who stands convicted
today.

His actions reflect poor judgment rather than an ongoing pattern of criminality. A
downward variance requiring strict supervision will advance this statutory objective far more
effectively than would a lengthy prison sentence. Mr. Wimmer likely has many years to prove
that he is a changed person who can lead a productive life for himself and his family. He has
been free on bond for nearly seven months with no problems reported, which indicates the public

is safe.
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4) The sentence should provide defendant with much needed educational or vocational
training, medical care or other treatment. 18 U.S.C. 3553(a)(2)(D).

Mr. Wimmer currently works in automobile sales and has prior work experience in the
natural gas industry, retail and in food services, so he has adequate skills to maintain a
productive life. He does not suffer from addiction and he rarely drinks alcohol (PSR 447). Both
his physical and mental health are good. However, his history as a correctional officer could
subject him to a heightened risk of prison abuse, so any safety measures available by the Bureau
of Prisons should be ordered.

tS. Conclusion

According to the United States Sentencing Commission’s Judiciary Sentencing
Information (JSIN) database, defendants convicted of identical crimes and who are similarly
situated received average sentences of 71 months (PSR 4106). However, given Mr. Wimmer’s
youth, his lack of any criminal history and his extraordinary acceptance of responsibility and
cooperation, a sentence below the national average is appropriate.

Based upon the foregoing, Defendant Steven Nicholas Wimmer respectfully submits that
a sentence well beneath the statutory maximum of 10 years would fulfill the requirements of 18
U.S.C. 3553 and advance the interests of justice.

Respectfully submitted,

STEVEN NICHOLAS WIMMER,
By Counsel,

/s/ Ward Morgan

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CERTIFICATE OF SERVICE

I, Ward Morgan, counsel for Defendant, do hereby certify that I have served a true copy of
the foregoing “Defendant Steven Nicholas Wimmer’s Sentencing Memorandum” upon Christine
Siscaretti, Deputy Chief of Operations, Criminal Section, Civil Rights Division. U.S. Department

of Justice, via CM/ECF delivery, on this the 13" day of June, 2024.

/s/ Ward Morgan

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